                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             STATESVILLE DIVISION
                      CIVIL ACTION NO. 5:18-CV-075-KDB-DCK

 BENJAMIN REETZ,                                 )
                                                 )
                   Plaintiff,                    )
                                                 )
    v.                                           )         ORDER
                                                 )
 LOWE’S COMPANIES, INC., et al.,                 )
                                                 )
                   Defendant.                    )
                                                 )

         THIS MATTER IS BEFORE THE COURT on the “Motion For Admission Pro Hac

Vice And Affidavit” (Document No. 99) filed by Nicholas H. Lee, concerning Edward Moss on

November 6, 2020. Edward Moss seeks to appear as counsel pro hac vice for Defendant Aon

Hewitt Investment Consulting, Inc. Upon review and consideration of the motion, which was

accompanied by submission of the necessary fee and information, the Court will grant the motion.

         IT IS, THEREFORE, ORDERED that in accordance with Local Rule 83.1, the “Motion

For Admission Pro Hac Vice And Affidavit” (Document No. 99) is GRANTED. Edward Moss

is hereby admitted pro hac vice to represent Defendant Aon Hewitt Investment Consulting, Inc.


                                Signed: November 9, 2020




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